                 Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 1 of 14


                                tbr Violation
                                                                                                              wreoeffifl?.
                                                                                                                                                  n,texrc-d
                                        UNrrpo Srarps Drsrrucr                        CouRS, t 0 z0z0 *":                    MAR


                                                                                         lt4tjrcrrB'
                                                                                                     uu"*"l f#
                                                                                         twtitcH€..
                                                                        ,.,
                                                                            ":lJ; Mexico
                                                                        r   atb Division
                                                                                     case   No.    J0 c,,$18 rnv -GRu", __*
                AE   L f,         Njf SSg\                                    )                   r,o   be   ftted in by the Cterk's oJfice)
                              Plaintffis)
^4I4H
lWrite tlrc full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannotfit in the space above,
please wrile "see auoched" in the space and attach an additional
page with the full list of names.)
                                  -v-

 rAHES              NrSSEla/
            '}RTAN
ur-tzf€D €7T83 lvlAKsHAL SEFVTCE:
SA^ffA. fE r CAusrrf grarrrs >q,
                             Defendant(s)
lWrite   full name of each defendant who is being sued. If the
          the
names ofall the defendants cannotfit in the space above, please
write    "see attached" in the space and altach an additional page
rrith   thefull list ofnames. Do not include addresses here.)


                                  COMPLAINT FOR VIOLATION OF CIVL RIGHTS
                                                               (Prisoner Complaint)



                                                                            NOTICE

    Federal Rules of Civit procelure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's fullsocial
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

        ln order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                               Page I   of ll
                  Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 2 of 14


Pro Se l4 (Rev. l2116) Comolaint for Violation of Civil Rishts (Prisoner)


I.         The Parties to This Complaint

           A.         The Plaintiff(s)


                      Provide the information below for each plaintiff named in the complaint. Attach additional pages                     if
                      needed.
                            Name                                            FKHA€I- :[l                NrSSE,l/
                            All   other names by which
                            you have been known:
                                                                             Nh
                            ID Number                                           O75og t S ,
                            Current Institution                                 Cfr3cAA CaL.4NTa CaRRE<-'.EaN S at]\/7q
                            Address                                             p.O, i3Ot 3SL+o
                                                                                MY.IAN           N, lr4      t-7021
                                                                                       City                 State               Zip Code


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      Iisted below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title 1i/tcnownl and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No.        1


                            Name                                                 {nmes f3RrAN Nr.ss?!
                            Job or Title gf known)
                            Shield Number
                            Employer
                            Address


                                                                                       City                 State               Zip Code

                                                                            p    tnairiaral capacity   !   orn.iut   capacity


                      Defendant No. 2
                            Name
                            Job or Title 6f known)
                            Shield Number
                            Employer
                            Address


                                                                                       City                                     Zip Code

                                                                            f    lnairiaral capacity   I   orn"lut capacity




                                                                                                                                       Page2of   ll
                  Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 3 of 14


Pro Se l4 (Rev. l2l16) Complaint for Violation of Civil Rights (Prisoner)


                      Defendant No. 3
                            Name
                            Job or Title     Qf known)

                            Shield Number
                            Employer
                            Address


                                                                                         City                                  Zip Code

                                                                            I   moiularal capacity   !   orn.iut    capacity


                      Defendant No. 4
                            Name
                                                                                ,lo
                            Job or Title     1if knownl

                            Shield Number
                            Employer
                            Address


                                                                                         cilv                                  Zip Code

                                                                            fltnalriaual capacity    !   orfi.iut   capacity

II.        Basis for Jurisdiction

          Under 42 U.S.C. $ 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unlcnown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.          Are you bringing suit against            (check all that apply):


                      17    Eederal officials (a Bivens claim)

                      []    Stut" or local officials (a g 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. $ 1983. If you are suing under section 1983, what
                     federal constitutional or statutory righ(s) do you claim is/are being violated by state or local officials?

                      Auu of THg lLArir4S, tJ:sr€D H€r<€?-tt A,AEjNST D€F€NDA.NT
                                                                     Lolat< or lAvt/
                      EN l4fis TN DSVT.D{A L c.aPnc-rTt/ U N Dg< THe


          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing tnder Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?      ALL oFV+€ CLATM,                                    LE57d) Ha=K57s1r 4z-u"a,c                        iqc3t
                                                                                                                                           ._C/TL-
                               TH€ LO-IOK OF L,A\^/ , TTTL€ I g CKTTqZNAI-,
                     ^ND€R
                      AL].:T{)NSoF5r*tttr€LAWOFqT(EUNU:nEDs;ru78
                                                                                                                                      Page3of   Il
                   Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 4 of 14


Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Riehts (Prisoner)




           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. $ 1983. If you are suing under section 1983, explain how each defendant acted under color
                      ofstate or local law. Ifyou are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pageJif needed. Re<-t<-ess pESREGARD oF R,>BAB.E
              rAljrs T rY, .1):1,- sL^lDFlLr_ 1r*H ^-l?9L 9r, _g:*:r t :y:
              l'il'"]rax3?':R^T-;;FA';;€,;;;;lL+i:*:*::r,4*?a:Y^:
              ,\c{-er>r.
              oF *du*L'v
              e'P
                             latFl),
                  fufftlDRETy @'
                                             ,vlerraL
                                   r\+..--'r-z ,ArvD
                               crqP4rcco*s
                                                             ,6rrFL
                                                                            D.

                                                                                     r *:'-     --
                                                     't-1A'?€-EA.l3 F*LSe REPcRf. atbrTTeu<-T=aN eF
                                               '-A'rziiry'"af
                                                                                                     _ _'- -"-      --                 -,        -"'-'   - --

            htsrzcz A-A                  ,
                                               ptatgE *ND A fta€ft::ary
                                                        --                  ..   d---Eat6,r-b
                                                                                                            4
                                                                                                                           !lf<
                                                                                                                           F?.arr'zl=nL-qFx-4
                                                                                                                           F:.gF     *-*+G^
                                                                                                                            z a*rs' ?'<En €D:ffiD''       -^?D*,

            U;,';;;RXri-W'Wr;;'r$ii                            ir re5                                 ^c'1vEt !!
                                                                                                             -,
                                                                                                       A \LAN D
                                                                                                                                     ^fEt+a-A,


            MA

III.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows                                (check   all that apply)i

          f            Pretrial detainee

          tr           Civilly committed detainee

          u            Immigration detainee

          tr           Convicted and sentenced state prisoner

          tr           Convicted and sentenced federal prisoner

          m            other   @xptain)            L,NVTCTaD AND ?R€ SENTA'IC-aVG Ktraaf-
w.       Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         fuither details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.           If the events giving rise to your claim arose outside an institution, describe where and when they" arose.
                      peftx>AXfS Sir.ly,ARV ReeoeT      w.rntrrt nTS<-e(€KY otr
                      ?L,\TNTrFF; Clv*.Nrurr=\r7- cAS€ HAD Noft.ENb rc Dc)
                                                        c,Atrt\sT FtATNrEtr.
                                                Le\tt€> A
                      rN,rtt A;G?g.|"'lyl'akoes
                                 >€r"srrrarls   vr*- Freea>uca-tr Arlb ^4,sLmDz"N                                                                                      C''
                       D,=<ote<y

         B.           If the events giving rise to your claim arose in an institution, describe where and when they arose.




                                                                                                                                                          Page4of 1l
                 Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 5 of 14


Pro Se l4 (Rev. i2116) Complaint for Violation   ofCivil   Rights (Prisoner)




         C.          What date and approximate time did the events giving rise to your claim(s) occuri

                         yz^lt      1    lzort

         D.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did whqt?
                     Was anyone else involved? Who else saw what happened?) FAc-TS AR€ ENDEUZDUAL-
            U|,a€A coLo< oF L,\VV SumrYtF?V RE?arTS OF D€f;blt>Ar-trs Ac-Tfo lS
           ,tE-7€ErAt AS R.EIAE) "7O D@asLaoNg     e-^feN 7o NaN AEaZcct
          SLTT€ ?aLrCE fN TLAD\'r-trFFS   Drscate*&{ oF 77t€ uN-c7€-> S*7€S
          DrS*rcr      ATTaAN# -TN T7+€ DTS.T<ECr aF Nev /y.€)''EaO'    De-kttD4'{.s
                                                                   P/?aFc>,tND
           ,,AL'CZ/.LS SutnrnA&EE, rN dTJcdvcvY       l'lAv€ Na
                             OF Tlt€ F1DETAL
          fut|cE rN CASE ubt^;O               eo(*^tnry,      Drsc:or'aLa
          gyap€-tcE Wrct-           7267Na. ALL THE    fr'AcrzoNS         -
                                                                    LTST-€D
          HEzerN OF 17t85 Llz- A,S,c-.* f tqy3-
v.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.



             NO          PftVSZCAL                           ZNdT'(EZ:E:=             gt,r   STAD\/€?>




VI.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
                                                           Rat-zap SoL4aftT
         the acts alleged. Explain the basis for these claims. noNg.-r.-A&y                                   trc.R oN
         ALL A^ o^/€ o F tTt€s€                                  PR 7H€. E-lorEaN t*
                                                               4 t taJ'rtJ     LJ.5.:,.€,i H&EVI
         AND             PqREs,   ,-€\(z.ED AhAENST    PLAZT\IEFF      Bl/ DtrA'tDFitTS
               ^AA.r?rAL a-PAn EIEKO,<. fr,frtrcutE: AND l,|lALFE7PtSc',Lt3 A'.71--*u< s '
         oulrLrrNDTstt                                             t<ESaLv€ DErlE^tuANTS
        flATNTaFF 3E:EK3 t{toNq:A<Y ,€TTLE4E tT 70              7t1€  cot*oR oF lr\W
         hcrJ-ld,N' ar.t ZNDIa-TDAA(- -To   Lp'PAcfr^/ UNDER-
        r1+Ar fHe cau(<f FrNDS                  BE vu437*r P:":=        AND E4vETV\BLE
        w, PLt+E^1trF9 BI)+TIINT rND SHArnEFUl-              trCR€Grol(s    AcTrails
        TN TaE NHel€ dF €vtSTrcE ,



                                                                                                                        Page5of   ll
             Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 6 of 14


                           for Violation of Civil




VII.   Exhaustion ofAdministrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"),42 U.S.C. $ 1997e(a), requires that "[n]o action shall be brought
       with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
       in any jail, prison, or other correctional facility until such administrative remedies as are available are
       exhausted."

       Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
       exhausted your administrative remedies.


       A.       Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                E v.,
                E*o
                If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                events giving rise to your claim(s).




                  CTT3OI           A COI^NTY                COERE-ZTTONS CEYT€R
       B.       Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                procedure?

                E v.t
                E*o
                E    ronotknow


       C.       Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                cover some or all of your claims?

                E    v..
                M*o
                E oo not know
                If yes, which claim(s)?




                                                                                                                     Page6of   ll
     Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 7 of 14


                ior Violation of Civil




D.    Did you filea grievance in the jail, prison, or other correctional facility where your claim(s) arose
      concerning the facts relating to this complaint?

      E v..
      E*o
      If no, did you file    a grievance about the events described in this complaint at any other   jail, prison, or
      other correctional facility        ?


      f] v..
      E*o
E.    lf you did file a grievance:

       1.   Where did you file the grievance?




      2.    What did you claim in your grievance?




       3.   What was the result, if any?




      4.    What steps, if any, did you take to appealthat decision? Is the grievance process completed? If
            not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




                                                                                                               PageTof   ll
                  Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 8 of 14


Pro Se l4 (Rev. l2116) Complaint for Violation of Civil Rishts (Prisoner)




         F.           If you did not file      a grievance:


                      1.    Ifthere are any       reasons why you did not file a grievance, state them here:




                                Nl^
                      2.    If you did not file      a grievance but you did   inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




         G.           Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                           N/^
                      Q,{ote: You may attach as exhibits to this complaint any documents related to the exhaustion of your
                      adminis trativ e remedi e s.)


VIIL     Previous Lawsuits

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28 U.S.C. $ 1915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

         f, v.t
         E*o
         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.



         a^--
                                                                                                                               Page8of l1
                  Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 9 of 14


Pro Se 14 (Rev. 12116) Complaint for Violation of Civil Rights (Prisoner)




         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?


                      f] v.'
                      E*o
         B.           If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lqwsuit, describe the additional lawsuits on another page, using the same format.)


                      1.    Parties to the previous lawsuit
                            Plaintiff(s)              N /O
                            Defendant(sl N /,a

                            Court (iffederal court, name the district; if state court, name the county and State)




                            Docket or index number




                            Name of Judge assigned to your case




                            Approximate date of filing lawsuit




                      6.    Is the case still pending?

                           Iv.'
                           E*o

                      7.
                            If no, give the approximate date of disposition.    4;
                            What was the result of the case? (For example: Was the case dismissed?       Was   judgment entered
                            in your   favor?      Was the case appealed?)




         C.           Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                      imprisonment?



                                                                                                                         Page9of   ll
                 Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 10 of 14


Pro Se 14 (Rev. l2116) Comolaint for Violation of Civil Riqhts (Prisoner)



                     f]      v..
                     E*o
         D.           If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      l.    Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)


                      2.    Court (iffederal court, name the district; if state court, name the county and State)



                                                                      ,/^

                            Docket or index




                            Name of Judge assigned to your case
                                                                 N

                            Approximate date of filing lawsuit




                      6.    Is the case still pending?

                           E     v.,
                           f]*o
                            If no, give the approximate           date of disposition


                      7.    What was the result of the case? (For example: Was the case dismissed?       Was   judgment entered
                            in your   favor?      Was the case appealed?)




                                                                                                                         Page   l0 of   1I
                Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 11 of 14


Pro Se l4 (Rev. l2116) Comolaint for Violation   ofCivil Rishts (Prisoner)



[X.      Certification and Closing

         Under Federal Rule of Civil Procedure 1 1, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:              ozlzt lzozo
                                                   T,
                     Signature of Plaintiff

                     Printed Name of Plaintiff                   Nltcpae.u
                     Prison Identification #                     oZ5ogts t
                     Prison Address                              ?" o, De{ 7s+o
                                                                                         N,^4                tzozI
                                                                     ^^rrA^,   City         State              Zip Code

                                                                                                   OFFICIAL SEAL
         B.          For Attorneys
                                                                                                    Birdie Jones
                                                                                            NOTARY PUBLIC-State of New lrtuxico
                     Date of signing:



                     Signature of Afforney

                     Printed Name of Attomey

                     Bar Number
                     Name of Law Firm

                     Address


                                                                             City          State               Zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                           Page   ll of   11
Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 12 of 14


  AtrFTDAvq- oF               PtArt'tT*T                            l4!cHA€?--    T N=StrAl

 T,     lwlrcHAEL T.         I:.Its,s'A!           t           C-o1ag3 ZN TTITS

Atrrc>Av4 DO Stt*q                                             77JAT-         n1€ Hb,RryN

Of      THr3        4z_ U,s"C.A-$ lqg7) 78 t),9, L, A -

f llrs AND n+fr aetrzzt>                                                      TNsrztz<truNAL

T}<4ST       Fuxo      CDPY          FR,om cEtSoL.A couxr{

coRRwtor/3               ctrr/G<                 TS zTttE                       AND

coK   R€6 TD T-re: B5r                                 OF AY                  KN9\^/GDLE

UNDER 1VtE              fuvem/ otr WsuRY.

                                                                                SvlBmqTEl>,
 |6:r€I).t
                                                        tnggAEt* C, N:rssEr{
                                                               /\
                                                               ( R-A,E^{r-# )
                                                 OFFICIAL SEAL
                                                  Birdie Jones
                              W           NoTARY PUBLIc-State of New Mexicc

                              riyi-om-mission Ex ere   za/a>,/ ?9-*2
                                         €a--{ /42-    /--t-
Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 13 of 14


                                                           F'BfH.   l
                                                           :s_s3!
                                                           : $' e i
                                                           I\N
                                                             s,; $
                                                                    I.
                                                             N
                                                             Y
                                                             \^




           F il      PJi
                                          tr'=
           i \elld                           -l
                                                     ,g
                                                     --
                                                     tD=


                                                     gifi
           t\ i[\: t                      "f; E= ftH
                                          Hn
                                            fiEi:U
                    ,il'U                   7
                                            cD  oi  oP

            tENil;;
            :;
            i {- !l$
             N iil          q

                         N|
                            h
Case 1:20-cv-00218-MV-GBW Document 1 Filed 03/10/20 Page 14 of 14




            2g      (zr..   S,   lc '--r+ {
                                 I
                                              |r18   3
                                 I


                                 i
                                 i
